       Case 1:25-cv-01413-LJL         Document 122          Filed 05/22/25    Page 1 of 2

                                                     U.S. Department of Justice

                                                     Civil Division
                                                     Federal Programs Branch



                                                     1100 L St NW
                                                     Washington, D.C. 20012


                                                     May 22, 2025
BY ECF
The Honorable Lewis J. Liman
United States District Court
Southern District of New York
500 Pearl Street, Courtroom 15C
New York, NY 10007
               Re:    MTA, et al. v. Duffy, et al., No. 25 Civ. 1413 (LJL)
Dear Judge Liman:
      We write respectfully on behalf of the Defendants to request an extension of seven days to
respond to the operative complaints (ECF 63, 96). Good cause exists for this request.
        At the outset, Defendants recognize that the Court denied our initial request to extend all
the deadlines. See ECF 119–121. Nonetheless, Defendants now ask the Court to extend
Defendants’ response deadline to the operative complaints to June 3, 2025. Defendants and their
counsel have diverted resources from responding to the operative complaints to respond to
Plaintiffs’ and Intervenor-Plaintiffs’ Preliminary Injunction Motions. Defendants are also
dedicating resources to prepare for the upcoming hearing on these motions, which is scheduled the
same day that the response to the operative complaints (ECF 63, 96) and the production of the
administrative record are currently due, and the day after a Federal holiday. Counsel for
Defendants also have competing deadlines in other cases. A seven-day extension would give
Defendants the time to adequately respond to the operative complaints. This extension is not
sought to delay the case but to provide Defendants and their counsel sufficient time to prepare for
the preliminary injunction hearing, produce the administrative record, and respond to the
complaint—which, without any extension, all fall on the same day.
      Defendants will still produce the administrative record as currently ordered on May 27,
2025. Thus, this extension will not affect any other deadlines in the case.
        Counsel for Defendants conferred with all Plaintiffs’ counsel via email on May 21, 2025.
Plaintiffs do not object to giving Defendants until June 3, 2025 to respond to the operative
complaints.
         Case 1:25-cv-01413-LJL       Document 122    Filed 05/22/25    Page 2 of 2

Page 2



                                                       Respectfully,

                                                       YAAKOV M. ROTH
                                                       Acting Assistant Attorney General

                                                       STEPHEN ELLIOTT
                                                       Assistant Director, Federal Programs

                                                By:    /s/ Samuel S. Holt
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cc: All Counsel of Record (via ECF)
